 Case 2:21-cv-04758-JVS-JDE Document 50 Filed 04/15/22 Page 1 of 8 Page ID #:2106

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:21-cv-04758-JVS (JDEx)                                   Date   April 15, 2022
 Title             Guangzhou Yucheng Trading Co., Ltd. v. Dbest Products, Inc.


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Plaintiff’s Motion for Leave to File
                        Amended Counterclaim [37]

       Defendant Dbest products, Inc. (“Dbest”) seeks leave to amend its counterclaim
against Plaintiff Guangzhou Yucheng Trading Co., Ltd. (“Guangzhou”). See Mot., Dkt.
37. Guangzhou opposes the motion. See Opp’n, Dkt. 39. DBest filed a Reply in support
of its motion. See Dkt. 47.

         For the following reasons, the Court GRANTS the motion.

                                                    I. BACKGROUND

       This is a patent infringement case involving wheeled shopping trolleys. Through
the present lawsuit, Guangzhou seeks a declaratory judgment of non-infringement and
invalidity of U.S. Patent No. 9,233,700, titled “Portable Cart with Removable Shopping
Bag” (“the ’700 Patent”).

       Guangzhou is an Amazon seller that maintains the “Winkeep” storefront on
Amazon’s website. Compl., Dkt. 1, ¶ 2. Through that storefront, Guangzhou sells a
variety of products, including utility carts, storage carts, and shopping carts. Id. Amazon
is the primary sales channel through which it sells its products. Id.

       Dbest develops, markets, and sells premium portable carts and owns a worldwide
portfolio of related intellectual property. Countercl., Dkt. 27, ¶¶ 3–4. Dbest owns all
rights, title, and interest in the ’700 Patent for a “portable cart with removable shopping
bag” which was issued on January 12, 2016. See First Am. Countercl. ¶ 5 and Ex. A.
Dbest also holds a registered trademark for TROLLEY DOLLY (U.S. Trademark Reg.
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 8
 Case 2:21-cv-04758-JVS-JDE Document 50 Filed 04/15/22 Page 2 of 8 Page ID #:2107

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       2:21-cv-04758-JVS (JDEx)                        Date   April 15, 2022
 Title          Guangzhou Yucheng Trading Co., Ltd. v. Dbest Products, Inc.

Nos. 5,348,107 (filed July 6, 2017 and registered on November 28, 2017) and 6,248,551
filed November 25, 2019 and registered January 19, 2021)). Since at least June 2014,
Dbest has been marketing and selling its portable carts in connection with the TROLLEY
DOLLY mark. Id. ¶ 7.

       In June 2018, Dbest submitted a complaint of trademark infringement with
Amazon in connection with Guangzhou’s use of the TROLLEY DOLLY mark in
connection with its multi-purpose “stair climber” cart (the “Accused Product”). Samuel
Decl., ¶ 6. On June 27, 2018, Guangzhou sent an email to Dbest acknowledging the
notification of trademark infringement, recognizing that the “Trolley Dolly [mark] was
registered by [D]best products,” and apologizing for its conduct. Id. ¶ 7 and Ex. 4.

       Dbest then filed a lawsuit against Amazon alleging that it infringed the ’700 Patent,
inter alia, by offering for sale and selling Guangzhou’s trolleys (see Dbest Products Inc.
v. Amazon.com, Inc., No. 2:21-cv-03147 (C.D. Cal.) (the “Amazon Lawsuit”)). Compl.
¶ 10. As a result of that lawsuit, Amazon removed Guangzhou’s listings for the Accused
Products from its website. Id. ¶ 6.

       In response to the Amazon Lawsuit, Guangzhou filed the present action for
declaratory judgment of non-infringement and invalidity of the ’700 Patent on June 10,
2021. Id. In its Answer, Dbest denied that there was any merit to Guangzhou’s request
for relief, stated various affirmative defenses, and asserted a counterclaim against
Guangzhou for infringement of the ’700 Patent. See Answer and Countercl., Dkt. 27. On
September 8, 2021, the Court entered a scheduling order in this matter setting November
8, 2021 as the last day to amend pleadings or add parties as a matter of right. Dkt. 26.

        Dbest now seeks to amend its Counterclaim. Dbest’s proposed First Amended
Counterclaim alleges that “[o]n or about February 15, 2022,” Dbest learned that the
Accused Products that had previously been offered for sale on Amazon.com were now
being offered for sale on Walmart.com. First Am. Countercl., Dkt. 37-2, ¶¶ 9–11. Dbest
alleges that the products on Walmart.com were being sold under the “Winkeep” brand
and were accompanied by descriptions that incorporated the Trolley Dolly mark. Id. ¶¶
10–12. On March 3, 2022, Dbest’s counsel sent an email to Guangzhou’s counsel stating
that it intended to file the instant motion for leave to amend, add an allegation of patent
marketing, and add claims for trademark infringement and trademark competition. Id. ¶
13.
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                        Page 2 of 8
 Case 2:21-cv-04758-JVS-JDE Document 50 Filed 04/15/22 Page 3 of 8 Page ID #:2108

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       2:21-cv-04758-JVS (JDEx)                          Date   April 15, 2022
 Title          Guangzhou Yucheng Trading Co., Ltd. v. Dbest Products, Inc.

       Accordingly, Dbest now seeks to amend its counterclaim by adding allegations and
claims related to Guangzhou’s alleged sale of the Accused Products on the Walmart.com
website. Specifically, the proposed First Amended Counterclaim adds three counts
related to trademark infringement: (1) federal trademark infringement under 15 U.S.C.
§ 1114; (2) unfair competition and false designation of origin under 15 U.S.C. § 1125(A);
(3) common law trademark infringement and passing off. Id. ¶¶ 42–67. It also includes
new allegations that Dbest complies with patent marketing requirements and that it gave
actual notice of infringement. Id. ¶ 6.

                                    II. LEGAL STANDARD

       A party seeking to amend pleadings after a scheduling deadline must satisfy the
standard for modifying the scheduling order under Rule 16(b) of the Federal Rules of
Civil Procedure. Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 607–08 (9th Cir.
1992). A party must show “good cause” for relief from a scheduling order. Fed. R. Civ.
P. 16(b)(4). The good cause standard “primarily considers the diligence of the party
seeking the amendment.” Johnson, 975 F.2d at 609. The court may grant relief from a
scheduling deadline if the deadline could not “reasonably be met despite the diligence of
the party seeking the extension.” Id. While a court may consider prejudice to the
opposing party, “the focus of the inquiry is upon the moving party’s reasons for seeking
modification.” Id. If that standard is met, the moving party must still meet the general
limitations on the filing of amended pleadings.

       “A party may amend its pleading once as a matter of course within: (A) 21 days
after serving it, or (B) if the pleading is one to which a responsive pleading is required,
21 days after service of a responsive pleading or 21 days after service of a motion under
Rule 12(b), (e), or (f), whichever is earlier.” Fed. R. Civ. P. 15(a)(1). In all other cases, a
party may amend its pleading only with written consent from the opposing party or the
court’s leave, which should be “freely give[n] . . . when justice so requires.” Fed. R. Civ.
P. 15(a)(2); see Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir.
1990) (requiring that policy favoring amendment be applied with “extreme liberality”).

       In the absence of an “apparent or declared reason,” such as undue delay, bad faith,
dilatory motive, repeated failure to cure deficiencies by prior amendments, prejudice to
the opposing party, or futility of amendment, it is an abuse of discretion for a district
court to refuse to grant leave to amend a complaint. Foman v. Davis, 371 U.S. 178, 182
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                           Page 3 of 8
 Case 2:21-cv-04758-JVS-JDE Document 50 Filed 04/15/22 Page 4 of 8 Page ID #:2109

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.       2:21-cv-04758-JVS (JDEx)                        Date   April 15, 2022
 Title          Guangzhou Yucheng Trading Co., Ltd. v. Dbest Products, Inc.

(1962); Moore v. Kayport Package Express, Inc., 885 F.2d 531, 538 (9th Cir. 1989). The
consideration of prejudice to the opposing party “carries the greatest weight.” Eminence
Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003). “Although there is a
general rule that parties are allowed to amend their pleadings, it does not extend to cases
in which any amendment would be an exercise in futility, or where the amended
complaint would also be subject to dismissal.” Steckman v. Hart Brewing, 143 F.3d
1293, 1298 (9th Cir. 1998) (internal citations omitted).

                                       III. DISCUSSION

         A.      Rule 16(b)

       Dbest argues that there is good cause for it to file the proposed First Amended
Counterclaim because it seeks to add allegations of conduct that were either discovered or
occurred after the deadline to amend and Dbest diligently sought leave to amend upon
learning of the alleged misconduct.

       Dbest first learned that the Accused Products were being sold on Walmart.com on
or about February 15, 2022 and promptly contacted Guangzhou’s counsel and sought this
amendment. See Samuel Decl., ¶¶ 10–14. To the extent Dbest’s amendments are based
on this discovery, it acted diligently in seeking leave to make them.

      The three proposed counts related to trademark infringement clearly arise from the
Walmart.com discovery. Guangzhou argues that Dbest was not diligent in adding its
trademark claims because “it has been aware of these claims since 2018.” See Opp’n at
6. But, until it discovered the Walmart postings in February 2022, Dbest only knew of its
trademark infringement claims with regard to Guangzhou’s activity on Amazon.

       Guangzhou contends that Dbest “only discusses its purported diligence in
connection with its trademark claim.” Opp’n at 4. However, all of the proposed
amendments are related to the newly-discovered Walmart.com postings. For instance, the
First Amended Counterclaim expands the existing direct patent infringement claim to
include offers to sell the Accused Products via Walmart and to allege indirect
infringement. Dbest’s indirect infringement claim is based on its new allegations that
Guangzhou was directly or indirectly selling the Accused Products under various
storefront names. Samuel Decl., Ex. 1 at ¶¶ 31–32. These allegations arise from conduct
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                        Page 4 of 8
 Case 2:21-cv-04758-JVS-JDE Document 50 Filed 04/15/22 Page 5 of 8 Page ID #:2110

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       2:21-cv-04758-JVS (JDEx)                        Date   April 15, 2022
 Title          Guangzhou Yucheng Trading Co., Ltd. v. Dbest Products, Inc.

and discoveries that occurred after the scheduling order was issued. Specifically, Dbest
contends that it was not until “counsel for both parties met and conferred on this motion
on March 7, 2022" that “Guangzhou’s counsel represented that Guangzhou was not the
entity offering the Accused Products for sale on the Walmart.com website.” Id. ¶ 14.
Within days of Dbest sending the draft amended counterclaim to Guangzhou’s counsel,
the listings for the Accused Products on Walmart.com were changed to remove the words
“TROLLEY DOLLY” and change the brand name from “Winkeep” to “Popolic.” Reply
at 4 (citing Samuel Decl. ¶ 15 and Ex. 6). However, the manufacturer’s product numbers
were unchanged. Id. Upon making these observations, Dbest promptly and diligently
sought the related amendments.

       The proposed First Amended Counterclaim seeks to add allegations that Dbest
complies with patent marking requirements and gave Guangzhou actual notice of its
infringement of the ’700 Patent. First Am. Countercl. ¶ 6. Dbest explains that
“Guangzhou also raised the issue fo notice of infringement during discovery, so the
proposed first amended counterclaim alleges patent marking to affirmatively address this
issue.” Samuel Decl., ¶ 21. On March 1, 2022, Guangzhou issued a supplemental
response changing the date on which it learned of the ’700 Patent by approximately 16
months. See Supp. Samuel Decl., ¶ 3 and Ex. 7. Dbest contends that that supplemental
response prompted it to add the notice allegations. See Reply at 6. Thus, Dbest was
diligent in seeking that amendment.

      The proposed amendments will not prejudice Guangzhou. Dbest notified
Guangzhou that the Accused Products infringed its TROLLEY DOLLY trademark before
Guangzhou initiated this case. Samuel Decl, ¶¶ 6–7 and Ex. 4. Even so, Guangzhou
offered the Accused Products on Walmart.com after it filed this action. As such, it
assumed the risk that Dbest would expand its

         B.      Rule 15

       The Federal Rules provide that leave to amend should be “freely given when
justice so requires.” Fed. R. Civ. P. 15(a); Morongo Band of Mission Indians v. Rose,
893 F.2d 1074, 1079 (9th Cir. 1990), and the Ninth Circuit requires that the policy
favoring amendment be applied with “extreme liberality.” Accordingly, leave to amend
should be granted under Rule 15 unless amendment would “cause prejudice to the

CV-90 (06/04)                         CIVIL MINUTES - GENERAL                       Page 5 of 8
 Case 2:21-cv-04758-JVS-JDE Document 50 Filed 04/15/22 Page 6 of 8 Page ID #:2111

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       2:21-cv-04758-JVS (JDEx)                         Date   April 15, 2022
 Title          Guangzhou Yucheng Trading Co., Ltd. v. Dbest Products, Inc.

opposing party, is sought in bad faith, is futile, or creates undue delay.” Johnson v.
Mammoth Recreations, Inc., 975 F.2d 604, 607 (9th Cir. 1992).

         Guangzhou argues that Dbest seeks to delay this action because if the Court grants
Guangzhou’s request for a declaratory action of non-infringement, Amazon will reinstate
its listings for the Accused Products. Opp’n at 7. However, this is speculative and
improperly assumes at a nascent stage of litigation that Guangzhou will ultimately
prevail. In fact, Dbest has an interest in swiftly pursuing its infringement counterclaims
and potentially pre. Notably, Dbest is not seeking to add new accused products or
otherwise seeking to delay the claim construction process or trial. In fact, Dbest’s
proposed amendments allege that the Accused Products on Walmart infringed the ’700
patent for the same reasons as the Accused Products on Amazon.

       Guangzhou argues that the proposed trademark infringement claims are futile
because Dbest “makes no attempt to address [the Sleekcraft] elements, has insufficiently
pled likelihood of confusion, and therefore fails to state a claim for trademark
infringement under Rule 12(b)(6).” Opp’n at 9. To show trademark infringement under
the Lanham Act, the plaintiff must show that (1) the plaintiff owns a valid trademark; (2)
the defendant is using the plaintiff’s trademark without the plaintiff’s authorization; and
(3) the defendant’s use of the trademark likely confuses consumers. Applied Info. Scis.
Corp. v. eBay, Inc., 511 F.3d 966, 969 (9th Cir. 2007) (citing Brookfield Commc’ns, Inc.
v. W. Coast Entm’t Corp., 174 F.3d 1036, 1047, 1053 (9th Cir. 1999)).

       As to the first element, registration constitutes prima facie case of a trademark’s
validity. Applied Info. Scis. Corp. v. eBay, Inc., 511 F.3d 966, 970 (9th Cir. 2007).
Dbest alleges that it owns a valid, registered trademark for TROLLEY DOLLY. First
Am. Countercl. ¶ 8 and Exs. B and C.

       Second, Dbest alleges that Guangzhou is using its mark without Dbest’s
authorization. See id. ¶ 22 (“Notwithstanding the notice of infringement and [Dbest]’s
rights to the TROLLEY DOLLY mark, on information and belief, Guangzhou again
impermissibly uses, directly or indirectly, the [TROLLEY DOLLY] trademark.”).
Further, Dbest alleges specific instances of Guangzhou’s alleged infringement. See, e.g.,
id. ¶ 22 (“For example . . . the Accused Product . . . incorporates the Trolley Dolly
trademark in the name”). This is sufficient to allege the second element of trademark
infringement.
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                            Page 6 of 8
 Case 2:21-cv-04758-JVS-JDE Document 50 Filed 04/15/22 Page 7 of 8 Page ID #:2112

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       2:21-cv-04758-JVS (JDEx)                         Date   April 15, 2022
 Title          Guangzhou Yucheng Trading Co., Ltd. v. Dbest Products, Inc.


       As for the third element, courts consider eight factors to determine whether there is
a likelihood of confusion: (1) strength of the mark; (2) proximity or relatedness of the
goods; (3) similarity of the sight, sound and meaning of the marks; (4) evidence of actual
confusion; (5) degree to which the marketing channels converge; (6) types of goods and
degree of care consumers are likely to exercise when purchasing them; (7) intent of
defendants in selecting the infringing mark; and (8) likelihood that the parties will expand
their product lines. AMF Inc. v. Sleekcraft Boats, 599 F.2d 341, 348 (9th Cir. 1979),
abrogation in part on other grounds recognized by Mattel, Inc. v. Walking Mountain
Prods., 353 F.3d 792, 810 n.19 (9th Cir. 2003). This list is neither exhaustive nor
exclusive. Id. at 348 n.11. It should be applied flexibly. JL Beverage Co., LLC v. Jim
Beam Brands Co., 828 F.3d 1098, 1106 (9th Cir. 2016).

       Though “[c]ourts may determine likelihood of confusion as a matter of law on
either a motion to dismiss or summary judgment[,] a plaintiff is not required to prove the
likelihood of confusion at the pleading stage.” Vapor Spot, LLC v. Breathe Vape Spot,
Inc., 2015 WL 12839123, at *5 (C.D. Cal. Sept. 15, 2015) (internal quotation marks and
citations omitted). Instead, the question is whether s whether Dbest has alleged sufficient
facts to allow the Court to draw the reasonable inference that Guangzhou’s alleged use of
the mark is likely to cause consumer confusion. Playboy Enters. Int’l v. Fashion Nova,
2021 U.S. Dist. LEXIS 152711, at *12 (C.D. Cal. Apr. 13, 2021). To make the
determination, a court need not address all eight factors as “it is often possible to reach a
conclusion . . . after considering only a subset of the factors.” Brookfield Communs., Inc.
v. West Coast Entm’t Corp., 174 F.3d 1036, 1054 (9th Cir. 1999). “[D]ismissal at the
pleadings stage tends to be appropriate when it is clear both that the goods or services in
question are not related and that confusion is not likely.” RVCA Platform, LLC v. Nudie
Jeans Co AB, 2008 WL 11337820, at *3 (C.D. Cal. Aug. 29, 2008).

       Here, the Court cannot say as a matter of law that consumer confusion is unlikely.
Dbest alleges that it has used the TROLLEY DOLLY trademark for portable carts in
commerce since June 15, 2014, that the mark has become incontestable, and that Dbest
has spent a substantial amount of time and money building up, advertising and promoting
its TROLLEY DOLLY brand and goodwill. First Am. Countercl. ¶¶ 7, 9. These
allegations speak to the strength of the mark. As to proximity of goods, Dbest alleges
that both its products and the Accused products are shopping carts. Id. ¶¶ 17, 23, 24.
Dbest further alleges that the descriptions of the Accused Products incorporated the
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                         Page 7 of 8
 Case 2:21-cv-04758-JVS-JDE Document 50 Filed 04/15/22 Page 8 of 8 Page ID #:2113

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       2:21-cv-04758-JVS (JDEx)                        Date   April 15, 2022
 Title          Guangzhou Yucheng Trading Co., Ltd. v. Dbest Products, Inc.

TROLLY DOLLY trademark (id. ¶¶ 23, 24). This speaks to Guangzhou’s intent to copy
the mark. Moreover, Dbest alleges that the Accused Products and Dbest’s carts are
promoted in the same marketing channels (i.e., Amazon and Walmart.com). See id. ¶ 18.
For these reasons, the Dbest has sufficiently alleged likelihood of confusion to show that
the proposed amendment is not futile.

       In sum, the Court finds that leave to amend is appropriate here, as Dbest has
sufficiently demonstrated that the amendment is not sought in bad faith, is not futile, and
will not cause undue delay at this stage in the proceeding. Further, the Court finds that
the amendment will not prejudice Guangzhou.

      Accordingly, the Court GRANTS the motion to modify the scheduling order to
allow Dbest to file its proposed First Amended Counterclaim.

                                      IV. CONCLUSION

      For the foregoing reasons, the Court GRANTS the motion. The Court VACATES
the April 18, 2022, hearing. The Court finds that oral argument would not be helpful in
this matter. Fed R. Civ. P. 78; L.R. 7-15.


                 IT IS SO ORDERED.




CV-90 (06/04)                         CIVIL MINUTES - GENERAL                        Page 8 of 8
